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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                      Case No.: 1:04−cr−00531
                                                        Honorable John Robert Blakey
, et al.
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, December 23, 2022:


       MINUTE entry before the Honorable John Robert Blakey: Defendant's Motion for
extension of time [411] is denied as moot, and the Defendant's second motion for
compassionate release [438] is denied as stated in this Court's written order. Enter Order.
Mailed notice (gel, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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